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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

BRETT E. LANG,

          Petitioner,

v.
                                                       Civil Case No. 05-71898
UNITED STATES OF AMERICA,                              Criminal Case No. 91-80936
                                                       Honorable Patrick J. Duggan
          Respondent.
                                          /


                        OPINION AND ORDER
         DENYING MOTION TO VACATE AND CORRECT PETITIONER’S
                 SENTENCE PURSUANT TO 28 U.S.C. § 2255

                           At a session of said Court, held in the U.S.
                         District Courthouse, City of Detroit, County of
                        Wayne, State of Michigan, on September 20, 2005.

          PRESENT:             THE HONORABLE PATRICK J. DUGGAN
                               U.S. DISTRICT COURT JUDGE

       Petitioner Brett E. Lang is a federal prisoner currently incarcerated at the Federal

Medical Center in Lexington, Kentucky. On July 2, 1992, a jury convicted Petitioner of the

following offenses: conspiracy to possess with intent to distribute and distribution of heroin

and cocaine, two counts of possession with intent to distribute a controlled substance, and

use of a firearm during a drug trafficking offense. Presently before the Court is Petitioner’s

motion pursuant to 28 U.S.C. § 2255 asking this Court to vacate and correct his sentence,

filed on May 13, 2005. For the reasons set forth below, Petitioner’s motion shall be denied.
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I.     Background

       In 1991, the Government filed a 62-count indictment in this Court naming Petitioner

in eight counts. On July 2, 1992, a jury convicted Petitioner of participating in conspiracy

to possess with intent to distribute and distribution of heroin and cocaine, two counts of

possession with intent to distribute a controlled substance, and use of a firearm during a drug

trafficking offense, in violation of 21 U.S.C. §§ 841(A)(1), 846, and 924(C).

       Prior to sentencing, this Court held a two-day evidentiary hearing on the issue of drug

amounts. The Court found, by a preponderance of the evidence, that the drug amounts

utilized in sentencing Petitioner were in excess of one kilogram of heroin and five kilograms

of cocaine. (See Sentencing Tr. at 44-53). On November 25, 1992, the Court sentenced

Petitioner to serve 324 months on the drug conspiracy conviction and 240 months on the two

overt criminal acts, which were to run concurrently with the conspiracy sentence.

Additionally, Petitioner was sentenced to 60 months on the firearm conviction, which by

statute ran consecutive to the 324 month conspiracy sentence.

       Petitioner exhausted his appeals of right, in which he objected to this Court’s findings

as to the drug amounts. Petitioner’s convictions and sentences were upheld. In 1999,

Petitioner, acting in pro per, filed a motion to vacate his sentence pursuant to 28 U.S.C. §

2255. On May 10, 1999, the Sixth Circuit Court of Appeals remanded Petitioner’s case to

this Court to consider his claim that there was insufficient evidence to support his 18 U.S.C.

§ 924(c) conviction.

       The Court appointed current counsel to represent Petitioner. On November 16, 1999,

this Court granted Petitioner’s motion and vacated his § 924(c) conviction.

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      Before Petitioner was resentenced, the United States Supreme Court issued Apprendi

v. New Jersey, 530 U.S. 466, 120 S. Ct. 2348 (2000). On June 13, 2001, the Court

resentenced Petitioner. At the resentencing hearing, the parties agreed that Apprendi applied.

Counsel for Petitioner argued that: (1) the utilization of the drug quantities, determined by

a mere preponderance, violated Apprendi; (2) the stacking provision of the sentencing

guidelines, U.S.S.G. § 5G1.2(d), violated Apprendi because it resulted in a sentence that was

beyond the statutory maximum, based on factors not determined by the jury or admitted to

by Petitioner; and (3) based on Petitioner’s post conviction behavior, a downward departure

from the applicable guideline range was warranted.

      This Court: (1) denied Petitioner’s Apprendi challenge to the calculation of the drug

quantities; (2) ruled that the stacking provision of U.S.S.G. § 5G1.2(d) did not violate

Apprendi; and (3) granted Petitioner’s motion for downward departure due to his exemplary

post conviction behavior. This Court vacated the initial sentence imposed on the firearm

conviction. The Court sentenced Petitioner to 240 months on the conspiracy conviction and

reduced the original 240 month sentences on the two overt acts1 to 80 months for each count.

However, the Court ordered that the two 80 month sentences would run concurrent to each

other, but consecutive to the conspiracy sentence.

      On appeal to the Sixth Circuit, Petitioner raised the same arguments he raised before

this Court. The Sixth Circuit requested that the parties provide supplemental briefs on the

issue of whether the stacking provision of the sentencing guidelines violated 28 U.S.C. §


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        The two “overt acts” refer to the two counts of possession with intent to distribute a
controlled substance.

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994(1)(2) and/or the Constitution. On September 9, 2003, the Sixth Circuit affirmed

Petitioner’s sentence. According to Petitioner, the Sixth Circuit applied the wrong standard

of review in reviewing the issues for plain error because the panel erroneously found that

Petitioner had not raised in the trial court either a challenge to the drug quantities or to the

imposition of consecutive sentences. (Br. in Supp. of Mot. at 3-4).2 On November 28, 2003,

the Sixth Circuit denied the Petition for Rehearing En Banc to correct the error.

      On February 18, 2004, Petitioner filed a Petition for Writ of Certiorari to the United

States Supreme Court. The Supreme Court denied the petition on May 17, 2004.

      On May 13, 2005, Petitioner filed a motion under 28 U.S.C. § 2255 asking this Court

to vacate and correct his sentence. In his motion, Petitioner contends that the calculation of

his drug quantities and the holding that stacking his sentences was mandatory given the

federal sentencing guidelines violated Apprendi. Petitioner argues that the Supreme Court’s

holdings in Blakely v. Washington, __ U.S. __, 124 S. Ct. 2531 (2004) and United States v.

Booker, __ U.S. __, 125 S. Ct. 738 (2005), clarified the Apprendi decision and validated the

arguments made by Petitioner at his resentencing hearing. (Mot. at ¶ 15).

      The Government filed a brief in opposition on June 30, 2005, contending that

Petitioner’s motion is a second or successive petition and the case should be transferred to

the United States Court of Appeals for the Sixth Circuit. On August 10, 2005, this Court


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         Petitioner is incorrect. With respect to the issue of “drug quantities,” the Sixth Circuit
expressly stated that “. . . this review is not limited by a plain error standard.” United States v.
Wingo, 76 Fed.Appx. 30, Nos. 01-1669, 01-1961, at 35, n.4 (6th Cir. Sep. 9, 2003). With respect
to the issue of “consecutive sentences,” whether or not the Court was correct in reviewing for
plain error, is of no significance. The Court specifically held that “. . . § 5G1.2(d) mandates the
imposition of consecutive sentences when its terms are met.” Id. at 35.

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found that Petitioner’s motion was not a successive petition and denied the Government’s

motion to transfer.

II.   Standard of Review

      Section 2255 states, in pertinent part:

      A prisoner in custody under sentence of a court established by Act of Congress
      claiming the right to be released upon the ground that the sentence was imposed
      in violation of the Constitution or laws of the United States, or that the Court was
      without jurisdiction to impose such sentence, or that the sentence was in excess
      of the maximum authorized by law, or is otherwise subject to collateral attack,
      may move the court which imposed the sentence to vacate, set aside or correct the
      sentence.

28 U.S.C. § 2255.

      The petitioner bears the burden of establishing any claim asserted in his § 2255 motion.

In this case, Petitioner contends that this Court imposed his sentence in violation of his Fifth

Amendment right to due process and his Sixth Amendment right to have a jury determine

beyond a reasonable doubt the drug quantities utilized to increase his criminal penalty at

sentencing. To warrant relief because of constitutional error, the petitioner must show that

the error was one of constitutional magnitude which had a substantial or injurious effect on

the proceedings. See Hill v. United States, 368 U.S. 424, 428, 82 S. Ct. 468, 471 (1962).

Petitioner also challenges the Court’s findings that the Sentencing Reform Act, 18 U.S.C. §§

3533(a), 3533(b)(1), and U.S.S.G. 5G1.2(d) required mandatory stacking of his criminal

convictions. To warrant relief for a nonconstitutional error, the petitioner must show a

fundamental defect in the proceedings which inherently results in a complete miscarriage of

justice. Reed v. Farley, 512 U.S. 339, 354, 114 S. Ct. 2291, 2300 (1994).

III. Discussion

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     Petitioner argues that he was resentenced in violation of his Fifth Amendment right to

due process and his Sixth Amendment right to have a jury determine beyond a reasonable

doubt the drug quantities utilized to increase his criminal penalty at sentencing. Petitioner

contends that the Apprendi arguments that he raised at his resentencing on June 13, 2001

have been adopted by the Supreme Court in its subsequent decisions in Blakely and Booker,

and therefore, Petitioner has preserved these issues. For that reason, Petitioner contends that

this motion is not brought on a collateral review basis.

     First, Apprendi is not retroactively applicable to cases on collateral review. See Goode

v. United States, 305 F.3d 378, 382 (6th Cir. 2001). The Court does not believe that there

is any merit to Petitioner’s argument that because Petitioner had the foresight to argue that

Apprendi applied to both the drug quantities and the mandatory imposition of consecutive

sentences pursuant to the Sentencing Guidelines that this motion is not brought on a

collateral review basis.

     All of the issues raised in this petition were raised in his appeal to the Sixth Circuit

Court of Appeals and were decided by that Court in its decision of September 9, 2003 except

for the arguments relating to the effect of Blakely and Booker.

     In this case, the Supreme Court did not issue Blakely and Booker until after Petitioner’s

resentencing. Petitioner’s Apprendi arguments, although they were raised as objections

during the sentencing hearing, were raised before the Supreme Court issued Blakely and

Booker. Petitioner’s § 2255 motion is a motion for collateral review, to which new rules of

constitutional law do not apply. Teague v. Lane, 489 U.S. 288, 305-08, 109 S. Ct. 1060,

1073-74 (1989).

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     Moreover, the Court need not consider whether either of the exceptions set out in

Teague apply or whether Petitioner may raise his Apprendi arguments in this motion where

he already raised them as objections during sentencing because Apprendi does not apply to

sentences that are calculated under the Sentencing Guidelines unless the sentence exceeded

the statutory maximum. United States v. Garcia, 252 F.3d 838, 843 (6th Cir. 2001). Here,

the drug amounts utilized in sentencing Petitioner were in excess of one kilogram of heroin

and five kilograms of cocaine. Pursuant to 21 U.S.C. § 841(b)(1)(A)(i), the maximum

penalties for the amount of heroin attributed to Lang is a minimum sentence of ten years not

to exceed a maximum sentence of life. Moreover, pursuant to 21 U.S.C. § 841(b)(1)(A)(ii),

the penalties for the amount of cocaine attributed to Lang is a minimum sentence of ten years

not to exceed a maximum sentence of life. Consequently, there was no arguable violation

of Apprendi because the 240 month sentence and two 80 month sentences which Petitioner

received fell below the maximum term of life imprisonment to which he was exposed under

21 U.S.C. §§ 841(a)(1) and 846.

     Second, Petitioner contends that his sentence is unconstitutional based on the Supreme

Court’s holdings in Blakely and Booker. In Booker, the Supreme Court applied the principles

in Blakely to hold that the United States Sentencing Guidelines are subject to the Sixth

Amendment’s jury trial requirements. As written, the Sentencing Guidelines required the

sentencing court to make factual findings by a “preponderance of the evidence” standard.

The Sixth Amendment’s jury trial requirements, however, require that facts used in

fashioning a defendant’s sentence must be found by the trier of fact beyond a reasonable

doubt. Booker, 125 S. Ct. at 756, aff’g Apprendi v. New York, 530 U.S. 466, 120 S. Ct. 2348

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(2000). Consequently, the Supreme Court also held that 18 U.S.C. § 3553(b)(1), making the

Sentencing Guidelines mandatory, was unconstitutional. Id. As a result, the Sentencing

Guidelines are advisory, although they may still be considered by the sentencing court under

18 U.S.C. § 3553(a)(4). Id.

      Petitioner is not entitled to retroactive relief under Booker. In Humphress v. United

States, 398 F.3d 855, 860 (6th Cir 2005), the Sixth Circuit ruled that Booker does not apply

retroactively to cases on collateral review. Therefore, because Petitioner’s § 2255 motion

is a motion for collateral review, the procedural protections afforded by Booker do not apply.

     Accordingly,

     IT IS ORDERED that Petitioner’s motion to vacate and correct his sentence pursuant

to 28 U.S.C. § 2255 is DENIED.



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                                           s/PATRICK J. DUGGAN
                                           UNITED STATES DISTRICT JUDGE

Copies to:

Patricia A. Maceroni, Esq.
Wayne F. Pratt, AUSA




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